Case 1:22-cr-00240-AKH Document 168-12 Filed 03/22/24 Page 1 of 4




                    Exhibit J
                     Case 1:22-cr-00240-AKH Document 168-12 Filed 03/22/24 Page 2 of 4
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FD-302 (Rev. 5-8-10)                                                                                                                                 C..C.l'l'h 'r:i.ul(�!,; ��.,. d>;i til '1 ,��1\:1
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                                                                                                                          Date of entry       05/19/2022


          On April 15, 2022, SCOTT BECKER (BECKER), formerly employed at Archegos
       Capital Management (Archegos), was interviewed at the United States
       Attorney's Office, Southern District of New York, located at One Saint
       Andrew's Plaza, New York, New York 10007. Present during the interview was
       BECKER's legal counsel Jason Brown and Phoebe King from Cohen & Gressner;
       Special Agent Andreas M. Economou-Ellison from the Federal Bureau of
       Investigation; and Assistant United States Attorney (AUSA) Andrew Thomas and
       AUSA Matthew Podolsky.




   Investigationon 04/15/2022 at New York, New York, United States (In Person)
   fik# 318B-NY-3416770                                                                                                      Date drafted 04/15/2022
   by ECONOMOU-ELLISON ANDREAS MICHAEL
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                                                                                                                                                                                          Page I of 8
FD-302a (Rev. 5-8-10) Case 1:22-cr-00240-AKH   Document 168-12 Filed 03/22/24 Page 3 of 4

        318B-NY-3416770
                     (U) Interview of Scott Becker on
Continuation of FD-302 of 04/15/2022                               , On   04/15/2022   , Page   5 of 8




        [Agent Note: At this point in the interview, BECKER reviewed Document C,
        which will be maintained as a 1A associated with this serial. After review,
        BECKER provided the following information:]




                                                                                MUFG
        sent an automated email to the operations team and then someone from the
        team reviewed the documents.

           Pre-COVID, the procedure was for operations to print the trade confirms
        out. Starting in or about March 2020, the operations team started using
        DocuSign for HALLIGAN to sign them instead of mailing the physical document
        to HALLIGAN’s house to sign. BECKER was the first to sign up for DocuSign,
        but in or about mid to late 2020, the other operations team members got
        their own accounts as well. HALLIGAN would go into DocuSign to give his
        signature and then the document could be downloaded through DocuSign. The
        brokers accepted the document signed in this fashion.




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                                                                                                         Becker, Scott
                                                                                                          Page 5 of 8
FD-302a (Rev. 5-8-10) Case 1:22-cr-00240-AKH   Document 168-12 Filed 03/22/24 Page 4 of 4

        318B-NY-3416770
                     (U) Interview of Scott Becker on
Continuation of FD-302 of 04/15/2022                               , On   04/15/2022   , Page   6 of 8




           BECKER did not have any specific conversations with Ropes & Gray
        regarding the clause in the third to last page of Document C, paragraph
        (iii) Exchange Act Filing, section (C).




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                                                                                                         Becker, Scott
                                                                                                          Page 6 of 8
